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EXHIBIT E(2)
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Across the country we have seen an increasing amount of Heroin. Regardless of the
geographic location, this substance is at its all-time high level and only seems to be
increasing.

Fentonnyl= What

There are a number of reasons for this increase:

1. Nationwide addiction to opiates in general stemming from the years of
oxycodone abuse.

2. Mexican DTO’s and Colombian cartel growing of poppies and conversion to
Heroin.

3. Increased purity which has added accepted forms of using the substance, both
snorting and smoking.

However, with this increased popularity we also have to be aware of a dangerous cut

and/or substitute that the Mexicans are placing in the Heroin, Fentany].

Years ago there was a rash of overdoses in the country from Fentanyl being cut
into the Heroin. This led DEA Chicago Division to send out a warning directive
to all agents. Initially they suspended all field testing of Heroin until a study was
conducted to determine a safe way of testing. It was determined that all future
testing would be conducted by the agents ONLY using nitrile gloves. Upon
completion of the test, they would also need to wash their hands thoroughly.
These precautions were warranted because standard latex gloves have air holes or
imperfections that could allow for small amounts of substance to go through the
gloves and be absorbed through small cuts on the agent's hands.

For those of you that have been administered Morphine for some medical reason,
in a comparison between Morphine and Fentanyl, Fentanyl is many times stronger
than Morphine. This is a substance not to be taken lightly. Because of the potential
presence of Fentanyl, we strongly recommend all field testing of Heroin be
conducted ONLY with the use of nitrile gloves.

Now that you're using nitrile gloves, let’s look at what test you should use and how
much substance should be tested. Heroin is a semi-synthetic opiate. Semi-synthetic
because it comes originally from a plant ( poppy), the resin or gum is removed from
the pods and chemistry then conyerts the gum first to Morphine base and then to

Heroin. Fentanyl on the other hand is a fully synthetic opiate which is manufactured

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in a laboratory. For this reason we recommend you start testing with the specific
Heroin field test of Mecke's Reagent Modified (#NARK20011 — pouch; #NAR10016
— tube).

You also must be aware that SMALL amounts of substance must be used. Fentanyl
potentially may create heat or expansion within the test. If either of these conditions
exists, with the pouch configuration re-position the safety closure clip to a 45° angle,
hold the pouch with the opening to be positioned away from you and allow the heat
or pressure to vent. For the tube configuration, raise the safety closure cap to slightly
loosen and allow the venting of either the heat or expansion around the cap. Once
the pressure or heat has vented, reposition either the safety closure clip or cap and
continue the field test.

A positive Heroin field test will turn a distinct Green color. However, much of the
Heroin across the country is either a light tan to brown color. Some areas even have
the very distinct black tar product. Due to the dark resin in these substances, the
solvent (ist ampoule) will create a distinct tan to brown to black color. When you
break the 2nd ampoule, the Green color has difficulty fighting through the darker
resin for proper color recognition. In these cases, this is what we recommend that
you do:

Pouches: Instead of having the printed side facing you, turn the test around so the
back is now facing you. Turn the pouch upside down and lightly tap the pouch to
allow the liquid to move to the “new” bottom of the pouch. Then view the Green
color adhering to the glass shards (now at the “new” top of the pouch).

Tubes: Holding the safety closure cap firmly in place, turn the tube upside down
and light tap the tube. The liquid will flow into the cap and view the Green color
adhering to the glass shards at the “new” top of the tube.

If you do not receive a positive Green color, we recommend you move to the

Special Opiate Reagent (¥NARK20010 — pouch; #NAR10022 — tube). This test is
designed specifically for fully synthetic opiates; oxycodone, oxycontin’, fentanyl and
buprenorphine (Suboxone*). Due to the number of false positives this test allows for
Heroin, we strongly recommend avoiding its use for semi-synthetic opiate (Heroin)
and limit the testing to only full synthetic substances.

